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1    BONNER C. WALSH
     Pro hac vice
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6
7    Attorney for Plaintiffs
8                           UNITED STATES DISTRICT COURT
9                          NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION
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11
     IN RE: VOLKSWAGEN “CLEAN                    Case No. 3:15-md-02672-CRB
12   DIESEL” MARKETING, SALES
13   PRACTICES AND PRODUCTS                      MDL No. 2672
     LIABILITY LITIGATION
14                                               [PROPOSED] ORDER GRANTING
15   This document relates to:                   WITHDRAWAL OF APPEARANCE
                                                 OF BONNER C. WALSH
16   ALL ACTIONS
17                                               Judge: Hon. Charles R. Breyer
18
19
                                     [PROPOSED] ORDER
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21
           Upon consideration of Plaintiffs’ Notice of Withdrawal of Counsel, it is
22
     HEREBY ORDERED that BONNER C. WALSH is hereby withdrawn as counsel of
23
     record in this matter on behalf of the plaintiffs listed in Exhibit A to the Notice of
24
     Withdrawal of Appearance of Bonner C. Walsh.
25
           The Clerk of the Court is directed to remove Bonner C. Walsh from the record
26
     and from the Court’s ECF notifications in this case.
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                                                 -1-
     [PROPOSED] ORDER
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1
2    Dated: July ___,
                  18 2022
3
4                                           Hon. Charles R. Breyer
5                                           United States District Judge

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     [PROPOSED] ORDER
